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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                  Chapter 15
    In re
                                                                  Case No. 24-10632 (CTG)
                                           1
    Pride Group Holdings Inc., et al.
                                                                  Jointly Administered
        Debtors in Foreign Proceedings.


                    NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
                   HEARING ON MAY 2, 2024 AT 9:00 A.M. (EASTERN TIME)

     This hearing will be conducted in-person in Courtroom #7, 3rd floor. All parties, including
  witnesses, are expected to attend in person unless permitted to appear via Zoom. Participation at
    the in-person court proceeding using Zoom is allowed only in the following circumstances: (i)
  counsel for a party or a pro se litigant that files a responsive pleading and intends to make only a
limited argument; (ii) a party or a representative of a party that has not submitted a pleading but is
interested in observing the hearing; (iii) any party that is proceeding, in a claims allowance dispute,
  on a pro se basis; or (iv) extenuating circumstances that warrant remote participation as may be
  determined by the Court. The deadline to register for remote attendance is 4:00 p.m. (prevailing
             Eastern Time) the business day before the hearing unless otherwise noticed.

COURTCALL WILL NOT BE USED FOR THIS HEARING. To attend a hearing remotely, please
    register using the eCourtAppearance tool (available here) or on the Court’s website at
                                  www.deb.uscourts.gov.


MATTERS GOING FORWARD

1.          Verified Petition for (I) Recognition of Foreign Main Proceedings, (II) Recognition of
            Foreign Representative, and (III) Related Relief Under Chapter 15 of the Bankruptcy Code
            (D.I. 2, filed 4/1/24).

            Objection / Response Deadline: April 25, 2024, at 4:00 p.m. (ET).

            Responses Received:

            A.      Regions Bank’s Limited Objection to Amended Verified Petition for (I)
                    Recognition of Foreign Main Proceedings, (II) Recognition of Foreign
                    Representative and (III) Related Relief Under Chapter 15 of the Bankruptcy Code
                    (D.I. 128, filed 4/25/24).
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      The last four digits of Debtor Pride Group Holdings Inc.’s Canadian business number are 6399. Due to the large
      number of debtors in these chapter 15 cases, a complete list of the debtor entities and the last four digits of their
      unique identification numbers is not provided herein. A complete list of such information may be obtained on the
      website of the Debtors’ noticing agent at https://dm.epiq11.com/pridegroup. The Debtors’ service address for the
      purposes of these chapter 15 cases is 1450 Meyerside, Suite 401, Mississauga, Ontario, L5T 2N5, Canada.
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Related Documents:

A.     Petitions (See Exhibit A);

B.     Declaration of Randall Benson in Support of (A) the Debtors’ Verified Petition for
       (I) Recognition of Foreign Main Proceedings, (II) Recognition of Foreign
       Representative and (III) Related Relief under Chapter 15 of the Bankruptcy Code
       and (B) Motion for Provisional Relief (D.I. 3, filed 4/1/24);

C.     Notice of Filing of Amended Foreign Representative Declaration (D.I. 120, filed
       4/23/24);

D.     Notice of Filing of Amended Verified Petition (D.I. 121, filed 4/23/24);

E.     Notice of Filing of Second Amended Recognition Order (D.I. 140, filed 4/30/24);
       and

F.     Foreign Representative’s Reply in Support of Amended Verified Petition for (I)
       Recognition of Foreign Main Proceedings, (II) Recognition of Foreign
       Representative, and (III) Related Relief Under Chapter 15 of the Bankruptcy Code
       (D.I. 141, filed 4/30/24).

Status: This matter is going forward.




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Dated: April 30, 2024
       Wilmington, Delaware
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                                   -and-

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